  Case 2:15-cv-10192-AC-MJH ECF No. 7 filed 02/09/15               PageID.17      Page 1 of 2



                             UNITED STATES OF AMERICA
               U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

MICHIGAN URGENT CARE &
PRIMARY CARE PHYSICIANS, P.C.,


        Plaintiff,
                                                    Case No. 2:15-cv-10192-AC-MJH

-vs-


PRIMCOGENT SOLUTIONS, LLC
and JOHN DOES 1-10,

        Defendants.
                            FED.R.CIV.P. 41(a)(1)
             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff Michigan Urgent Care & Primary Care

Physicians, P.C., ("Plaintiff"), hereby dismisses Plaintiff’s individual claims against Defendant

without prejudice, with each party bearing its own costs. Plaintiff's class claims are dismissed

without prejudice and with each party bearing its own costs. This notice of dismissal disposes of

the entire action.

                                                    /s/ Thomas E. Soule
                                                    Thomas E. Soule


Daniel A. Edelman
Cathleen M. Combs
Thomas E. Soule
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)
 Case 2:15-cv-10192-AC-MJH ECF No. 7 filed 02/09/15                  PageID.18     Page 2 of 2



                                CERTIFICATE OF SERVICE

        I, Thomas E. Soule, certify that on February 9, 2015, or as soon thereafter as service may
be effectuated, I caused a true and accurate copy of the foregoing document to be served, via
hand delivery by process server, on the following party:

               Primcogent Solutions, LLC
               5550 LBJ Freeway, Suite 800
               Dallas, TX 75240

                                                     /s/ Thomas E. Soule
                                                     Thomas E. Soule



Daniel A. Edelman
Cathleen M. Combs
Thomas E. Soule
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)
